        Case 1:17-cv-00737-ELR Document 50 Filed 06/27/19 Page 1 of 5




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



ALISON VALENTE,                :
                               :
               Plaintiff,      :                    Civil Action File No.:
                               :                    1:17-cv-00737-ELR
      v.                       :
                               :
INTERNATIONAL FOLLIES,         :
INC., et al.                   :
                               :
               Defendants.     :
______________________________ :

            STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiff, Alison Valente, and Defendant, International Follies, Inc. d/b/a The

Cheetah, et al. (the “Parties”), hereby file their Stipulation of Dismissal With

Prejudice in the above-entitled action. The Parties stipulate to the dismissal of this

action with prejudice, with each party to bear its own costs and fees.



                             (Signatures on Next Page)




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     Respectfully submitted this 27th day of June 2019.

/s/ Larry A. Pankey           .        /s/ Kevin L. Ward                .
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Erin J. Krinsky                        Andrea Lynn Pawlak
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                                       Attorneys for Defendant




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                      CERTIFICATION OF FONT SIZE

       Pursuant to Local rule 5.1C of the Local Rules of the United States District

Court for the Northern District of Georgia, I, Larry A. Pankey, Esq., of Pankey &

Horlock, LLC, attorney for Plaintiff, Alison Valente, hereby certify that the

foregoing Stipulation of Dismissal With Prejudice is typewritten in MS Word

using Times New Roman font, fourteen (14) point type.

       Dated this 27th day of June 2019.

                                      PANKEY & HORLOCK, LLC


                                      By: /s/ Larry A. Pankey          .
                                          Larry A. Pankey
                                          Georgia Bar No. 560725
                                          Attorneys for Plaintiff




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          IN THE UNITED STATES DISTRICT COURT FOR THE
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ALISON VALENTE,                :
                               :
               Plaintiff,      :                 Civil Action File No.:
                               :                 1:17-cv-00737-ELR
      v.                       :
                               :
INTERNATIONAL FOLLIES,         :
INC., et al.                   :
                               :
               Defendants.     :
______________________________ :

                         CERTIFICATE OF SERVICE

      I hereby certify that on this day I electronically filed the foregoing

Stipulation of Dismissal With Prejudice with the Clerk of Court using the

CM/ECF system, which will automatically send email notification of such filing to

the following attorneys of record:

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                                  Dean R. Fuchs
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     Dated this 27th day of June 2019.

                                     PANKEY & HORLOCK, LLC


                                     By: /s/ Larry A. Pankey        .
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